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                        IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   OCALA DIVISION

UNITED STATES OF AMERICA,
     Plaintiff,

v.                                                                         5:23-cr-56-JA-PRL

DUDZINSKI EDWINN POOLE,
     Defendant.
                                                          AUSA: Tyrie Boyer, Belkis Crockett
                                                            Deft. Atty.: Charles Taylor (CJA)

JUDGE              Philip R. Lammens        DATE AND TIME                       July 18, 2023
                                                                           2:59 pm – 3:31 pm
                                                                                  32 minutes
DEPUTY CLERK M. Taylor                      TAPE/REPORTER                          DIGITAL
INTERPRETER        Not Required             PRETRIAL/PROBATION:               Megan Martin

          CLERK'S MINUTES – INITIAL APPEARANCE AND ARRAIGNMENT

INITIAL APPEARANCE
Defendant arrested on a Superseding Indictment.

Defendant advised of rights, charges, penalties, etc.

Defendant requests court-appointed counsel. Based on the financial affidavit completed by
defendant and/or a financial inquiry, the Court appoints Criminal Justice Act Attorney Charles
Taylor with reimbursement upon filing by U.S. Attorney. ORDER TO ENTER.

Court advised the parties of the requirements of the Due Process Protections Act.

ARRAIGNMENT
Not guilty plea entered as to Counts 1, 2, 5 & 6 of the Superseding Indictment.

Trial set for the term commencing September 1, 2023 with the Status Conference on August 23,
2023 at 10:00 a.m. before the Honorable John Antoon, II. CRIMINAL SCHEDULING
ORDER TO ENTER.

Government orally moves for detention.

Defendant stipulates to detention at this time but reserves the right to file a motion for a bond
hearing at a later date.

ORDER OF DETENTION TO ENTER

FILED IN OPEN COURT:
Financial Affidavit
